

Matter of Attorneys in Violation of Judiciary Law § 468-a (Keskey) (2025 NY Slip Op 02839)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Keskey)


2025 NY Slip Op 02839


Decided on May 8, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:May 8, 2025

PM-108-25
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Michael Paul Keskey, Respondent. (Attorney Registration No. 5506928.)

Calendar Date:May 5, 2025

Before:Clark, J.P., Aarons, Pritzker, Powers and Mackey, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Michael Paul Keskey, Paradise Valley, Arizona, respondent pro se.



Motion to vacate that part of the September 2024 order of this Court, which order suspended respondent from the practice of law in New York for conduct prejudicial to the administration of justice arising from his failure to comply with his statutory attorney registration requirements (Matter of Attorneys in Violation of Judiciary Law § 468-a, 230 AD3d 1498, 1510 [3d Dept 2024]; see generally Judiciary Law § 468-a; see also Rules of Chief Admr of Cts [22 NYCRR] § 118.1).
Upon review of respondent's correspondence of April 24, 2025 and the responsive correspondence of the Attorney Grievance Committee for the Third Judicial Department dated May 2, 2025, and having further determined that respondent's registration delinquency for the 2021-2022 and 2023-2024 biennial periods, which delinquency formed the basis for this Court's order suspending him from the practice of law, was fully resolved prior to this Court's issuance of said order, we grant respondent's request and modify that part of our order which suspended respondent from the practice of law.
ORDERED that respondent's request is granted in accordance with the findings provided in this decision and order; and it is further
ORDERED that this Court's Memorandum and Order on Motion decided and entered on September 26, 2024 is hereby modified to the extent that respondent's name is hereby stricken from the schedule of attorneys attached to said order (230 AD3d at 1510).
Clark, J.P., Aarons, Pritzker, Powers and Mackey, JJ., concur.








